Case 1:14-CV-01302-PLI\/| ECF No. 28 filed 05/18/16 Page|D.236 Page 1 of 1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

REPORT FOLLOWING
VOLUNTARY FACILITATIVE MEDIATION SESSION
Case Number Case Caption Date of Session
1:14-CV-01302 Wi||iam Swarver v. Muskegon Township eta| 05/17/2016
PARTIES Attendees
Name On Behalf Of
Wi||iam Swarver P|aintiff
Deanna Swarvar P|aintiff
Pau| Spofford P|aintiff
|V|ichae| Spofford P|aintif'f
Ken Sanford Defendant
Jessica Jackson Defendant
COUNSEL
Name On Behalf Of`
Amy J. DeRouin Plaintiff
G. Gus |Vlorris Defendant
Result: lz] Case settled in full - Final paperwork Will be filed by: -»

g Mediatic)n continuing - Date ofNext Session
I___l Not settled - Mediation Completed

Dared; Nlay 18, 2016 Pamela C. Ens\en

 

Pamela C. Enslen
Mediator

 

